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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 UNITED STATES OF AMERICA,                      )
                                                )
        Plaintiff,                              )
                                                )
             v.                                 )        No. 4:91-CR-00001-CDP-6
                                                )
 RAYMOND AMERSON,                               )
                                                )
        Defendant.                              )



   SECOND MOTION FOR ADDITIONAL TIME TO DECIDE TO SUPPLEMENT PRO SE
                 REQUEST FOR COMPASSIONATE RELEASE

       NOW COMES Assistant Federal Public Defender Brocca Morrison respectfully requesting an

additional 30 days, up to and including January 28, 2021, in order to supplement Defendant Amerson’s

pro se Motion for Compassionate Release (Docs. 394). In support thereof, counsel states:

       1. Defendant filed a pro se Motion for Compassionate Release on October 14, 2020.

       2. Counsel entered her appearance in this matter on October 22, 2020.

       3. Counsel needs additional time to review certain records in this case, including BOP records,
           in order to determine whether to supplement Defendant’s pro se motion. Defendant has been
           incarcerated for many years and thus has far more records accumulated than the average
           compassionate release movant. Therefore, counsel needs additional time to review those
           records.

       4. Moreover, counsel has additional obligations representing indigent clients facing pending
           criminal charges in the Eastern District of Missouri.

       5. This motion is made in good faith and not for any dilatory purpose.




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       WHEREFORE, for the reasons stated above, counsel respectfully requests this Honorable Court

grant an additional thirty (30) days (through January 28, 2021) in order to determine whether to

supplement Defendant’s pro se Motion for Compassionate Release.

                                                    Respectfully submitted,

                                                    /s/Brocca L. Morrison
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                                    CERTIFICATE OF SERVICE

I hereby certify that on December 28, 2020, the foregoing was served by operation of the Court’s
electronic filing upon Assistant United States Attorney Tiffany Becker.


                                                    /s/Brocca L. Morrison
                                                    Brocca L. Morrison




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